Case 2:23-cv-01218-JES-KCD   Document 397-2   Filed 05/16/25   Page 1 of 4 PageID
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 EXHIBIT 1
 D’Ambly
 Docket
 Doc. No. 93
Case 2:20-cv-12880-JMV-JSA
     2:23-cv-01218-JES-KCD Document
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                T HE M ARLBOROUGH L AW F IRM , P.C.
                445 Broad Hollow Road, Suite 400     (212) 991-8960
                Melville, New York 11747             (212) 991-8952 fax
                                                     chris@marlboroughlawfirm.com


 August 31, 2021

 Filed electronically via CM/ECF
 The Hon. Jessica S. Allen
 Martin Luther King Building
 & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07102

 Re:   D’Ambly v. Exoo, et al., Civil Action No.: 2:20-cv-12880-JMV-JSA
       Plaintiffs’ Request for Telephone Conference and Expedited Discovery
 Dear Judge Allen:
 This office represents Defendant Christian Exoo in the above-captioned action. I
 write in response to Plaintiffs’ requests for a court telephone conference and for
 expedited discovery. The requests should be denied as Plaintiffs have failed to
 show that there has been or will likely be, any spoliation of evidence and fail to
 satisfy the good cause standard for expedited discovery.
 Plaintiffs make outrageous, profane and baseless claims against Defendants Exoo,
 his counsel and Twitter concerning alleged spoliation of evidence. However,
 Defendant Exoo’s Twitter account has not been deleted and is currently publicly
 accessible on the internet (See https://twitter.com/antifashgordon). Nevertheless,
 Plaintiffs proceed to waste the resources of the Court and numerous attorneys for
 defendants with these frivolous accusations.
 The Meet and Confer Process
 Plaintiffs’ Counsel has conducted himself in an abusive and uncivil manner hurling
 baseless accusations and insults at both me and my client. For example, Plaintiffs’
 Counsel asserted that Mr. Exoo deleted his account with the permission of his
 counsel in a profane manner. Plaintiffs’ Counsel stated, “ … you let your client
 delete his account what a sh*t show. Allowing your client to delete his account
 is bush league douchery.” See Exhibit A, Trainor-Marlborough E-mails at 1.
 Plaintiffs’ Counsel’s unfounded accusations, and incivility are grossly
 inappropriate.
 I explained to Mr. Trainor that his insults and use of profanity was inconsistent
 with the manner in which attorneys in federal court, or any court for that matter,
Case 2:20-cv-12880-JMV-JSA
     2:23-cv-01218-JES-KCD Document
                            Document93397-2
                                        Filed 08/31/21
                                               Filed 05/16/25
                                                         Page 2 Page
                                                                of 14 3PageID:
                                                                        of 4 PageID
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 Page 2

 should conduct themselves. Id. Rather than apologize, he responded in our meet
 and confer call by saying that attorneys always talk that way, suggesting to me that
 he intends to continue with his abusive conduct and does not understand his
 professional obligation to conduct himself in a civil manner.
 On our meet and confer call, Plaintiffs’ Counsel admitted that Defendant Exoo’s
 Twitter account was currently accessible online. Plaintiffs’ Counsel was unable to
 explain how any discovery rules are violated when information is taken offline but
 archived and available for production in discovery.
 Plaintiffs’ Counsel also admitted that he was unable to identify any information
 that was recently deleted from the account. I informed Plaintiffs’ Counsel that
 there was no destructions of evidence in connection with his stated concern. He
 refused to accept my representation. He further stated that he would not accept the
 representation of Defendant Exoo either and accused Mr. Exoo of being a liar.
 In addition, Plaintiffs’ Counsel admitted that he uses social media “scraping”
 software to obtain all of Defendant Exoo’s Tweets. Nevertheless, Plaintiffs claim
 that they will be harmed by losing the same information that is already in their
 possession.
 Plaintiffs’ Counsel also admits that he failed to meet and confer with counsel for
 Defendant Twitter prior to seeking Court intervention. See Trainor Ltr. at 1.
 Twitter’s counsel would likely have told Plaintiff’s Counsel that a Twitter account
 may be temporarily deactivated without deleting any evidence. See Exhibit B, How
 to Deactivate Your Account at 2/9, located at
 https://help.twitter.com/en/managing-your-account/how-to-deactivate-twitter-
 account (“Taking a break from Twitter? We get it.”). Indeed, it is impossible for
 users to delete the data on their Twitter accounts in less than 30 days. Id. Plaintiffs’
 Counsel could also have learned this information from a simple Google search.
 Plaintiffs’ Request for a Telephone Conference Should be Denied
 A Court conference is not warranted. Plaintiffs failed to conduct due diligence
 before seeking a conference and failed to confirm that any information was
 deleted. Plaintiffs claim that:
          Tweets from @AntifashGordon were referenced as Exhibits attached
          to [Exoo’s] pending motion to dismiss and that information has now
          been likely deleted and/or altered as a result of defendants’ breach of
          their duty to preserve.
 However, Plaintiffs did not even bother to confirm that any of this information was
 deleted even though the account was publicly available online both at the time of
Case 2:20-cv-12880-JMV-JSA
     2:23-cv-01218-JES-KCD Document
                            Document93397-2
                                        Filed 08/31/21
                                               Filed 05/16/25
                                                         Page 3 Page
                                                                of 14 4PageID:
                                                                        of 4 PageID
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 Page 3

 the parties’ meet and confer call and the time Plaintiffs filed their request for a
 conference and even though Plaintiffs’ Counsel has his own archive of Exoo’s
 public Twitter account. Moreover, Plaintiffs’ entire case is premised on their claim
 that Exoo’s Tweets have caused and continue to cause irreparable harm to
 Plaintiffs. Yet, when the Tweets were temporarily unavailable online, Plaintiffs
 claim that caused them irreparable harm too.
 The only reason to schedule a telephone conference would be for the purpose of
 reprimanding Plaintiffs’ Counsel for his unprofessional conduct, incivility and
 filing of frivolous papers. Courts regularly admonish parties who attempt to turn
 discovery disputes into a “gotcha game” rather than treat the litigation as a full and
 fair opportunity to air the merits of a dispute. See Pension Comm. of Univ. of
 Montreal Pension Plan v. Banc of Am. Sec., 685 F. Supp. 2d 456, 468 (S.D.N.Y.
 2010). See also Zhang v. City of N.Y., No. 17-CV-5415 (JFK) (OTW), 2020 U.S.
 Dist. LEXIS 148031, at *14 (S.D.N.Y. Aug. 17, 2020).
 Plaintiffs’ Request for Expedited Discovery Should Be Denied
 Plaintiffs’ request for expedited discovery should be denied. Under the Federal
 Rules of Civil Procedure “[a] party may not seek discovery from any source before
 the parties have conferred as required by Rule 26(f) . . .” Fed. R. Civ. P. 26(d). The
 rules allow for discovery prior to a Rule 26(f) conference, inter alia, “when
 authorized by . . . court order.” Id. District Courts in this circuit have typically
 required that the party seeking such expedited discovery must demonstrate “good
 cause for its motion, such that the request is reasonable in light of the
 circumstances.” Samuel, Son & Co. v. Beach, No. CIV. A. 13-128, 2013 U.S. Dist.
 LEXIS 129486, 2013 WL 4855325, at *3 (W.D. Pa. Sept. 11,2013) (quotations
 marks and citation omitted). See Milko v. Excalibur Mediation Grp., Civil Action
 No. 20-1789, 2021 U.S. Dist. LEXIS 31790, at *2-3 (W.D. Pa. Feb. 22, 2021).
 In this case, Plaintiffs have failed to satisfy the good cause requirement. Plaintiffs
 failed to conduct due diligence when making the request and do not have a good
 faith basis to believe that any information on Exoo’s Twitter account was recently
 deleted. Moreover, Defendant Exoo has a right to be free from Plaintiffs’
 harassment. Notwithstanding Plaintiffs’ curiosity about the management of his
 account, Defendant Exoo has a First Amendment right to utilize his Twitter
 account as he sees fit.



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